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                                                   July 8, 2019

 Via ECF

 The Honorable John G. Koeltl
 United States District Judge
 United States Courthouse
 500 Pearl Street
 New York, NY 10007


         Re:       Freedom of the Press Foundation et al. v. Dep’t of
                   Justice et al., No. 17 Civ. 9343 (JGK)

 Dear Judge Koeltl:

    Pursuant to the Court’s order on May 21, 2019, ECF No. 31, I write
 respectfully on behalf of the parties in the above-referenced case to provide
 a joint status report in this matter. By letter dated May 20, 2019, the parties
 informed the Court that the agencies had completed all of their productions.
 On June 27, 2019, however, the Department of Justice’s Criminal Division
 informed Plaintiffs that it would re-review a PowerPoint presentation that it
 previously withheld in full “to determine whether any additional records can
 be released.” In addition, today the Federal Bureau of Investigation (“FBI”)
 informed Plaintiffs that it would provide a further response regarding its
 production. The FBI has promised to provide this response within two
 weeks.

    The parties respectfully propose that the FBI provide its further response
 by Monday, July 22, 2019, that Plaintiffs identify the issues and
 withholdings they will challenge by Wednesday, July 24, 2019, and that
 the parties file a further joint status report by Wednesday, August 7,
 2019, in which they will propose to the Court a briefing schedule for the
 documents and issues to be litigated.

    We thank the Court for its consideration of this matter.

                                                   Respectfully,

                                                   /s/ Alex Abdo




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